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4                          UNITED STATES DISTRICT COURT

5                         EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No.    2:11-cr-00458-GEB
8                    Plaintiff,
9         v.                              ORDER
10   BUENA MARSHALL, and DEBORAH
     LOUDERMILK,
11
                     Defendant.
12

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14              In     response   to   defense    attorney    Mark     Reichel’s

15   Declaration filed at 1:53 a.m. on March 17, 2015, the Courtroom

16   Deputy Clerk was directed to tell each juror that we are not

17   having trial today due to an illness and that each juror will be

18   told when trial will resume.

19   Dated:    March 17, 2015

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